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                     Exhibit 2
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                             UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF NEW YORK


ARCHIE COMIC PUBLICATIONS, INC.,

               Plaintiff,                            Case No.: 10-CV-8858 (RMB)

                 vs.                                 Judge: Hon. Richard M.Berman

 KENNETH W. PENDERS, II,                             DECLARATION OF MICHAEL LOVITZ
 alk/a KEN PENDERS                                   IN SUPPORT OF PENDERS’
                                                     OPPOSITION TO PLAINTIFF’S MOTION
               Defendant.                            FOR SUMMARY JUDGMENT AND
                                                     CROSS-MOTION FOR SUMMARY
                                                     JUDGMENT


I, MICHAEL LOVITZ, declare under penalty of perjury:

        1)      I am an attorney admitted pro hac vice to practice before this Court and am a
partner in the law firm of Lovitz IP Law PC, which firm had served as legal counsel to Ken
Penders in this matter. I make this declaration in Support of Defendant Penders’ Opposition to
Plaintiff's Motion for Summary Judgment and Cross-Motion for Summary Judgment. I have
personal knowledge of the matters set forth in this declaration and, if called upon to do so, could
and would testify competently as to the matters set forth herein.

        2)     Prior to October, 2011, Lovitz IP Law PC represented Mr. Penders in the instant
matter, and conducted discovery and related investigations on Mr. Penders behalf.

        3)     On October 14, 2010, prior to the filing of this suit by ACP, I corresponded with
counsel for ACP and requested the originals of the agreements ACP alleges were signed by Mr.
Penders be made available at opposing counsel’s office for inspection. This was important to us
because we wanted to test the ink on any documents ACP claimed to be original as well as test
the ink on any copies of such originals.

        4)      In a letter dated October 27, 2010, ACP’s counsel responded to this request by
advising me that ACP was unable to locate the documents. Now was ACP’s counsel willing to
produce the documents copied in order to create exhibits A and B attached to ACP’s Complaint
in this Action.

       5)     Subsequent to the filing of this Action, plaintiff was served on June 15, 2011 with
a Demand for Inspection requesting original copies of both the Revised Newsstand Comic
Independent Contractor's Agreement and the Licensed Comic Books Independent Contractor's
Agreement (exhibits A and B to the Complaint).
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       6)      On July 18, 2011, counsel for ACP served Plaintiff’s Response and Objection to
Defendant’s Demand of Inspection (attached hereto as Exhibit A), wherein Plaintiff objected to
the demand as “irrelevant”, and stated that the originals had been lost or destroyed, that ACP had
located copies of the originals, and that copies of these copies had previously been produced to
Defendant’s counsel and submitted as exhibits to the Complaint.

        7)      Despite repeated requests, ACP refused to grant Defendant access to these
documents. If given the opportunity to inspect even the first copies of the documents, forensic
document experts would be able to test the ink on the copies to determine its age. ACP’s refusal
to allow us to inspect their documents or provide us with an original or even a copy of an
original created during the time period in question left us with no evidence to give to a document
forensics expert.

        8)     During the course of my representation, and as a part of our investigation of the
facts concerning this matter, I had the opportunity to interview Mr. Edward Spallone, former
Vice President of Finance at Archie Comics Publications (“ACP”) on several occasions during
August, 2011. Speaking with Mr. Spallone was very important since his was the signature on
behalf of ACP on the contracts alleged to have been signed my Mr. Penders, and I believed he
would provide insight into the activities of ACP in connection with those contracts.

        9)     I was eventually able to locate Mr. Spallone at the offices of Marvel Comics, and
arranged to speak with him by telephone concerning the contracts and ACP. I took notes during
our discussions concerning Mr. Spallone’s responses to my questions.

        10)     At the start of our first conversation, Mr. Spallone initially expressed some
concern that he might be called to testify at trial, explaining that he had signed an agreement with
Archie at the time his employment ended, which such agreement he believed may place
limitation on his ability to speak negatively about Archie or about the events that led to his
departure from Archie. However, Mr. Spallone expressed willingness to continue our
conversation and allowed me to ask him questions regarding his recollections concerning his
duties while at ACP, the contracts, his signatures and related events.

       11)     Mr. Spallone confirmed that he had been Vice President of Finance for ACP. Mr.
Spallone stated that, in general, he did not know or directly deal with the creative or editorial
staff.

        12)    Mr. Spallone stated that as VP of Finance, he had no involvement with, and was
not responsible for, editorial agreements such as the “Revised Newsstand Comic Independent
Contractor's Agreement” or the “Licensed Comic Books Independent Contractor's Agreement,”
and never signed such agreements on behalf of ACP, with the exception of one event.

       13)     During these interviews, Mr. Spallone explained that there had been a problem
discovered in 1996 concerning ACP’s contracts with its artists, writers and other creators.
Specifically, Mr. Spallone stated that it was ACP’s routine to store contracts in a box in the
company’s on-site warehouse. Further, during the time he was VP of Finance, he was aware that
ACP routinely hired short-term employees to work in the warehouse; however, ACP learned that
one or more of those employees had proven to be either untrustworthy or incompetent. In the

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fall of 1996, ACP discovered that all (or a majority) of the creator agreements housed in the ACP
warehouse had been destroyed when the box containing the contracts was discarded by one of
the short-term warehouse employees.

        14)     Although no one knew precisely the date when the contracts had been discarded
or destroyed, Mr. Spallone said that the loss of these contracts was discovered in the fall of 1996
after the “Sabrina, the Teenage Witch” television series debuted on the ABC network. The
television show was based on the Sabrina the Teenage Witch comic book character, which
character had been created by writer George Gladir and artist Dan DeCarlo in 1962.

       15)     Because the “Sabrina” television series had quickly proven to be very popular,
Mr. Spallone explained that ACP was extremely concerned once they discovered they no longer
had any of the signed creator contracts, and therefore no documentation to prove ACP’s
ownership of the Sabrina character. As a result, Mr. Spallone explained that ACP decided they
needed to secure a new, signed “Newsstand Comic Independent Contractor's Agreement” from
Mr. Gladir in order to confirm their ownership of the Sabrina character.

       16)     Mr. Spallone stated that, although the primary purpose for sending out these
contracts was to get George Gladir to sign away his interests in Sabrina the Teenage Witch
character, ACP wanted to hide their true intentions in hopes of avoiding having to pay Mr. Gladir
any compensation or royalty for the television series based on his character.

       17)     Mr. Spallone stated that ACP therefore created a “Revised” version of the
“Newsstand Comic Independent Contractor's Agreement,” which he was asked to sign on the
company’s behalf. Mr. Spallone stated these “Revised Newsstand Comic Independent
Contractor's Agreement” were sent to approximately thirty (30) of ACP’s freelancers, primarily
those working on the “core” Archie titles (i.e., those comics involving the “Archie” universe of
characters such as Archie, Betty, Veronica, Reggie, Jughead, Sabrina, Josie and the Pussycats, to
name a few).

        18)      Mr. Spallone explained that these documents were the only creator contracts that
he was ever asked to sign while working at ACP. Because he was not familiar with the creative
or editorial freelancers, Mr. Spallone was not able to recall the names of any of the freelancers to
whom he sent contracts, other than Mr. Gladir.

       19)    During these interviews, Mr. Spallone specifically told me that he did not recall
sending Mr. Penders a contract in 1996, or ever receiving one in return from him.

       20)     Mr. Spallone stated that he did not know which, if any, of the freelancers had
returned signed copies of the agreements to ACP, as they were not returned to him.

       21)     The only person who Mr. Spallone said he knew specifically had or had not
signed a copy of the November 1996 agreement was George Gladir, who never signed the
contract. Mr. Spallone explained that the reason Mr. Gladir did not sign the agreement was
because Mr. Spallone had contacted Mr. Gladir directly to advise him of ACP’s plan to avoid
compensating Mr. Gladir for the “Sabrina, the Teenage Witch” television program by having
him sign the new contract.

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